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       MINUTE ENTRY
       KNOWLES, M.J.
       APRIL 15, 2016

                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA

       MYESHIA S. AMBROSE-FRAZIER                                         CIVIL ACTION

       VERSUS                                                             NO. 15-1324

       HERZING, INC.                                                      SECTION "E" (3)


               Following further discussions among the parties, the above-captioned case has settled.

       The U.S. District Judge's chambers have been notified. Counsel and the parties are thanked for

       their cooperation in amicably resolving this matter.




                                                    DANIEL E. KNOWLES, III
                                                    UNITED STATES MAGISTRATE JUDGE




MJSTAR(2:00)
